Case 3:17-cv-00072-NKM-JCH Document 1190 Filed 10/12/21 Page 1 of 3 Pageid#: 20057



                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division




     ELIZABETH SINES, et al.,

                                  Plaintiffs,              Civil Action No. 3: 17-cv-00072-NKM
     v.
                                                           JURY TRIAL REQUESTED
     JASON KESSLER, et al.,

                                  Defendants.



                                   APPEARANCE OF COUNSEL

          To: The Clerk of the Court and all parties of record:

          I, Allegra K. Flamm, Esq., file my appearance in the above styled case as co-counsel for

   Plaintiffs. I was admitted to practice before this Court, in the above styled case, on behalf of

   Plaintiffs, by the October 6, 2021 Order granting my Motion for Pro Hac Vice Admission. See

   ECF No. 1166.

   Dated: October 12, 2021

                                                         Respectfully submitted,

                                                         /s/ Allegra K. Flamm
                                                         Allegra K. Flamm (pro hac vice)
                                                         COOLEY LLP
                                                         1299 Pennsylvania Avenue, NW
                                                         Suite 700
                                                         Washington, DC 20004-2400
                                                         Tel: 202-842-7800
                                                         Fax: 202-842-7899
                                                         aflamm@cooley.com
Case 3:17-cv-00072-NKM-JCH Document 1190 Filed 10/12/21 Page 2 of 3 Pageid#: 20058



                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Elmer Woodard                                    Bryan Jones
    5661 US Hwy 29                                   106 W. South St., Suite 211
    Blairs, VA 24527                                 Charlottesville, VA 22902
    isuecrooks@comcast.net                           bryan@bjoneslegal.com

    James E. Kolenich                                Counsel for Defendants Michael Hill, Michael
    Kolenich Law Office                              Tubbs, and League of the South
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249                         Joshua Smith Esq.
    jek318@gmail.com                             Smith LLC
                                                 807 Crane Ave.
    Counsel for Defendants Jason Kessler, Nathan Pittsburgh, PA 15216
    Damigo, Identity Europa, Inc. (Identity joshsmith2020@gmail.com
    Evropa)
                                                 Counsel for Matthew Heimbach, Matthew
    Justin Saunders Gravatt                      Parrott and Traditionalist Worker Party
    David L. Hauck
    David L. Campbell                            William Edward ReBrook, IV
    Duane, Hauck, Davis & Gravatt, P.C.          The ReBrook Law Office
    100 West Franklin Street, Suite 100          6013 Clerkenwell Court
    Richmond, VA 23220                           Burke, VA 22015
    jgravatt@dhdglaw.com                         edward@rebrooklaw.com
    dhauck@dhdglaw.com                           rebrooklaw@gmail.com
    dcampbell@dhdglaw.com
                                                 Counsel for Defendants Jeff Schoep, National
    Counsel for Defendant James A. Fields, Jr.   Socialist Movement, Nationalist Front,
                                                 Matthew Heimbach, Matthew Parrott and
                                                 Traditionalist Worker Party




                                                 2
Case 3:17-cv-00072-NKM-JCH Document 1190 Filed 10/12/21 Page 3 of 3 Pageid#: 20059



         I further hereby certify that on October 12, 2021, I also served the following non-ECF
   Defendants/participants, via electronic mail or First Class U.S. mail, as follows:

    Robert Ray                                      Richard Spencer
    azzmador@gmail.com                              richardbspencer@gmail.com
                                                    richardbspencer@icloud.com
    Vanguard America
    c/o Dillon Hopper                               Elliott Kline
    dillon_hopper@protonmail.com                    eli.f.mosley@gmail.com
                                                    deplorabletruth@gmail.com
    VIA U.S. Mail                                   eli.r.kline@gmail.com
    Christopher Cantwell
    Christopher Cantwell - Inmate: 00991-509        VIA U.S. Mail
    Grady County Law Enforcement Center             Christopher Cantwell
    (Oklahoma)                                      Christopher Cantwell - Inmate: 00991-509
    215 N. 3rd Street                               USP Marion
    Chickasha, OK 73018                             P.O. Box 2000
                                                    Marion, IL 62959



                                                    /s/ Allegra K. Flamm
                                                    Allegra K. Flamm
                                                    Counsel for Plaintiffs




                                                3
